Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2555 Page 1 of 7
Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2556 Page 2 of 7
Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2557 Page 3 of 7
Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2558 Page 4 of 7
Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2559 Page 5 of 7
Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2560 Page 6 of 7
Case 2:09-cr-00156-FVS   ECF No. 614   filed 12/22/10   PageID.2561 Page 7 of 7
